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                                                                                  .       FILED
                                                                                       U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT ARKANSAS


                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS JAMES                 K
                                 WESTERN DIVISION          By:_-+-~,.......~~~~=

UNITED STATES OF AMERICA

v.                                      NO. 4:14CR00151-05 JLH

BRITTANY MITCHELL                                                                      DEFENDANT

                   AMENDED JUDGMENT and COMMITMENT ORDER

        Court convened on Tuesday, May 9, 2017, for a scheduled hearing on the government's

superseding motion to revoke the supervised release of defendant Brittany Mitchell.        Document

#303.   Assistant United States Attorney Stephanie Mazzanti was present for the government.

The defendant appeared in person with her attorney, Assistant Federal Public Defender Latrece

Gray.           Based on the defendant's admission of the violations outlined in the motion, the

Court determined that defendant's supervised release should be revoked.               The superseding

motion to revoke supervised release is GRANTED.             Document #303.

        IT IS THEREFORE ORDERED that defendant is sentenced to the custody of the

Bureau of Prisons for a term to expire on May 26, 2017.              Supervised release is reimposed

and will expire on February 25, 2019.        The first six (6) months of supervised release will be

spent in the City of Faith residential reentry facility.

        All other conditions of supervised release previously imposed will remain in full force

and effect throughout the duration of supervision.

        IT IS SO ORDERED this/~ day of May, 2017.
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                                                           J. LEON HOLMES
                                                           UNITED STATES DISTRICT JUDGE
